 

Case 2:20-cr-20187-GCS-DRG ECF No. 8, PagelD.32 Filed 06/02/22 Page 1of1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
QO
Plaintiff, CRIMINAL NO. WS-cr-20187

VS. HON. GEORGE CARAM STEEH
United States District Judge

D-1 BILLY ARNOLD,

a.k.a. “B-Man”,

a.k.a. “Berenzo,” | LL Ee ;

a.k.a. “Killa, JUN -2 2022
Defendant. CLERK’S OFFICE

/ U.S. DISTRICT COURT

 

DEFENDANT’S ACKNOWLEDGMENT
OF FIRST SUPERSEDING INDICTMENT

I, BILLY ARNOLD, defendant in this case, hereby acknowledge that I have
received a copy of the First Superseding Indictment before entering my plea, and
that I have read it and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

Counts 1, 2, and 3: Up to ten (10) years imprisonment and a fine of not more than
$250,000.

 

Count 4: Imprisonment for at least 10 years, up to life, and a fine of not more than
$250,000. Imprisonment on Count 4 must be consecutive to any other term of
imprisonment.

BILLY ARNOLD

(0 | i 9. Defendant
Opp BL aD

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